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8                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
9
10   BRIAN WHITAKER,                              )   Case No.: 2:19-CV-10122-FMO-JEM
                                                  )
11           Plaintiff,                           )   NOTICE OF SETTLEMENT AND
                                                  )   REQUEST TO VACATE ALL
12     v.                                         )   CURRENTLY SET DATES
     NESPRESSO USA, INC., a Delaware              )
13
     Corporation; and Does 1-10,                  )
                                                  )
14
             Defendants.                          )
                                                  )
15                                                )
16
17          The plaintiff hereby notifies the court that a global settlement has been reached in
18   the above-captioned case and the parties would like to avoid any additional expense,
19   and to further the interests of judicial economy.
20          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
21   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
22   parties will be filed within 60 days.
23   Dated: May 12, 2020               CENTER FOR DISABILITY ACCESS
24
25                                     By: /s/ Amanda Lockhart Seabock
                                             Amanda Lockhart Seabock
26                                           Attorneys for Plaintiff
27
28


     Notice of Settlement            -1-              2:19-CV-10122-FMO-JEM
